        Case 3:15-cv-00335-RCJ-VPC Document 62 Filed 06/01/16 Page 1 of 3



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17
                                  UNITED STATES DISTRICT COURT
18                                     DISTRICT OF NEVADA
19   SOUTHPORT LANE EQUITY II, LLC,                    CASE No.:     3:15-cv-0335-RCJ-VPC
     individually and derivatively on behalf of
20   MASSIVE INTERACTIVE, INC., a Nevada
     corporation,
21                                                     STIPULATION AND ORDER TO
                   Plaintiff,                          DISMISS CASE WITH PREJUDICE
22
            vs.
23                                                     (First Request)
     RON DOWNEY, DEREK ELLIS, MAX
24   RAMSAY, MONIQUE ELLIS, DOMINIC DE
     LORENZO, ALEX DROSIN, and ANTAINE
25   FURLONG, and MASSIVE INTERACTIVE,
     INC., a Nevada corporation,
26
                   Defendants.
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        Case 3:15-cv-00335-RCJ-VPC Document 62 Filed 06/01/16 Page 2 of 3



 1          WHEREAS, each of the individual defendants in this matter has filed a motion to dismiss the
 2   Amended Complaint in the above-captioned action (the “Motions”), which, inter alia, challenge the
 3   Court’s personal jurisdiction over them as non-resident defendants;
 4          WHEREAS, Massive Interactive, Inc. (“Massive”) has similarly filed a motion to dismiss the
 5   Amended Complaint;
 6          WHEREAS, the Court issued an Order on April 1, 2016 (the “Order”), granting the Motions
 7   and dismissing Plaintiff Southport Lane Equity II, LLC’s (“Southport”) Amended Complaint with
 8   leave to amend;
 9          WHEREAS, on April 14, 2016, Southport filed a Notice of Intent Not to File a Second
10   Amended Complaint (the “Notice”), wherein it stated it intended to appeal the Order; and
11          WHEREAS, subsequently in April 2016, Southport and Massive executed a Joint
12   Monetization Agreement (the “Agreement”), wherein Southport agreed “to dismiss [its] claims with
13   prejudice within seven (7) days of the execution of this Agreement and further agree[d] not to refile
14   or otherwise pursue such claims, or action in any court or tribunal,” including a promise not “to file
15   or otherwise pursue any appeal” in this matter.
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20                          [REMAINDER OF PAGE INTENTIONALLY OMITTED]
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        Case 3:15-cv-00335-RCJ-VPC Document 62 Filed 06/01/16 Page 3 of 3



 1          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the
 2   parties, through their undersigned counsel, that pursuant to FRCP 41 and the terms of the Agreement,
 3   the Court should dismiss this matter in its entirety and with prejudice.
 4          IT IS FURTHER STIPULATED AND AGREED that each party shall bear its own fees
 5   and costs.
 6   Dated: May 25, 2016

 7
     FENNEMORE CRAIG, P.C.                              MCDONALD CARANO WILSON, LLP
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 9
     By: /s/ Courtney Miller O’Mara                     By: /s/ Rory T. Kay
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     Attorneys for Plaintiff Southport Lane Equity
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     II, LLC
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                                           IT IS SO ORDERED:
25
                                           __________________________________
26                                         UNITED STATES DISTRICT JUDGE
27
                                                    June 1, 2016
                                           DATED: ______________________________
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